           Case 1:18-cr-00065-ADA-BAM Document 38 Filed 02/04/19 Page 1 of 3

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 6 Attorneys for Plaintiff
   United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                              CASE NO. 1:18-CR-00065 DAD-BAM
11
                                   Plaintiff,               STIPULATION AND PROTECTIVE ORDER
12                                                          BETWEEN THE UNITED STATES AND
                            v.                              DEFENDANT
13
     ULISES PENA,                                           COURT: Hon. Barbara A. McAuliffe
14
                                   Defendant.
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16
            WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
17
     and confidential information including but not limited to dates of birth, telephone numbers, residential
18
     addresses, and social security numbers (“Protected Information”); and
19
            WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
20
     unauthorized disclosure or dissemination of this information to anyone not a party to the court
21
     proceedings in this matter;
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            The parties agree that entry of a stipulated protective order is appropriate.
23
            THEREFORE, Defendant ULISES PENA, by and through his counsel of record (“Defense
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     Counsel”), and the United States of America, by and through Assistant United States Attorney Henry Z.
25
     Carbajal III, hereby agree and stipulate as follows:
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            1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of
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     Criminal Procedure, and its general supervisory authority.
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            Case 1:18-cr-00065-ADA-BAM Document 38 Filed 02/04/19 Page 2 of 3

 1          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 2 part of discovery in this case (hereafter, collectively known as “the discovery”).

 3          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 4 documents that contain Protected Information with anyone other than Defense Counsel attorneys,

 5 designated defense investigators, and support staff. Defense Counsel may permit the Defendant to view

 6 unredacted documents in the presence of his attorney, defense investigators, and support staff. The

 7 parties agree that Defense Counsel, defense investigators, and support staff shall not allow the

 8 Defendant to copy Protected Information contained in the discovery. The parties agree that Defense

 9 Counsel, defense investigators, and support staff may provide the Defendant with copies of documents

10 from which Protected Information has been redacted.

11          4.      The discovery and information therein may be used only in connection with the litigation

12 of this case and for no other purpose. The discovery is now and will forever remain the property of the

13 United States of America (“Government”). Defense Counsel will return the discovery to the

14 Government or certify that it has been shredded at the conclusion of the case.

15          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

16 ensure that it is not disclosed to third persons in violation of this agreement.

17          6.      Defense Counsel shall be responsible for advising the Defendant, employees, and other

18 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

19          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

20 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

21 this Order.

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          Case 1:18-cr-00065-ADA-BAM Document 38 Filed 02/04/19 Page 3 of 3

 1         IT IS SO STIPULATED.

 2   Dated: February 1, 2019                     MCGREGOR W. SCOTT
                                                 United States Attorney
 3

 4                                        By: /s/Henry Z. Carbajal III
                                              HENRY Z. CARBAJAL III
 5                                            DAVID L. GAPPA
                                              Assistant United States Attorney
 6

 7
     Dated: February 1, 2019              By: /s/Emily DeLeon
 8                                            EMILY DELEON
                                              Attorney for Defendant
 9                                            ULISES PENA
10

11 IT IS SO ORDERED.

12
       Dated:    February 4, 2019                 /s/ Barbara A. McAuliffe       _
13                                         UNITED STATES MAGISTRATE JUDGE
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